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                                 No. 23-10362

                   United States Court of Appeals
                        for the Fifth Circuit

 ALLIANCE FOR HIPPOCRATIC MEDICINE; AMERICAN ASSOCIATION
   OF PRO-LIFE OBSTETRICIANS & GYNECOLOGISTS; AMERICAN
   COLLEGE OF PEDIATRICIANS; CHRISTIAN MEDICAL & DENTAL
 ASSOCIATIONS; SHAUN JESTER, D.O.; REGINA FROST-CLARK, M.D.;
         TYLER JOHNSON, D.O.; GEORGE DELGADO, M.D.,
                                              Plaintiffs-Appellees,
                                      v.
FOOD & DRUG ADMINISTRATION; ROBERT M. CALIFF, Commissioner of
Food and Drugs; JANET WOODCOCK, M.D., in her official capacity as Principal
    Deputy Commissioner, U.S. Food and Drug Administration; PATRIZIA
    CAVAZZONI, M.D., in her official capacity as Director, Center for Drug
Evaluation and Research, U.S. Food and Drug Administration; UNITED STATES
DEPARTMENT OF HEALTH AND HUMAN SERVICES; XAVIER BECERRA,
           Secretary, U.S. Department of Health and Human Services,
                                                        Defendants-Appellants,
                                      v.
                       DANCO LABORATORIES, L.L.C.,
                                                            Intervenor-Appellant.


  ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
                NORTHERN DISTRICT OF TEXAS
                   CASE NO. 2:22-cv-00223


  BRIEF OF 240 MEMBERS OF CONGRESS AS AMICUS CURIAE IN
 SUPPORT OF DEFENDANTS-APPELLANTS’ EMERGENCY MOTION
                FOR A STAY PENDING APPEAL

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          A complete list of the 50 U.S. Senators and the
        190 Members of the U.S. House of Representatives
            participating as amici curiae is provided as
            an appendix to the brief. Among them are:


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           Sen. Patty Murray    Rep. Katherine Clark
         Sen. Bernard Sanders   Rep. Frank Pallone, Jr.
         Sen. Richard J. Durbin  Rep. Jerrold Nadler
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                                  Rep. Barbara Lee
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                 CERTIFICATE OF INTERESTED PERSONS

      Alliance for Hippocratic Medicine, et al. v. U.S. Food and Drug

Administration, et al.

      The undersigned counsel of record certifies that the following listed persons

and entities as described in the fourth sentence of Rule 28.2.1 have an interest in

the outcome of this case. These representations are made in order that the judges of

this court may evaluate possible disqualification or recusal.

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      American College of Pediatricians

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      U.S. Department of Health and Human Services

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       https://www.nytimes.com/2022/11/05/opinion/election-abortion-roe-
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      2022), https://www.bu.edu/articles/2022/overturning-roe-v-wade-will-
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                STATEMENT OF COMPLIANCE WITH
            FEDERAL RULE OF APPELLATE PROCEDURE 29

       All parties have consented to the filing of this brief of up to 5,200 words in
length. No counsel for a party authored any part of this brief. No party, party’s
counsel or any person other than the amicus curiae, its members, or its counsel
contributed money that was intended to finance the preparation or submission of
this brief.




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                         INTEREST OF AMICI CURIAE

      Amici curiae are 240 Members of Congress—50 Senators and 190 Members

of the House of Representatives. (See Appendix for List of Amici.) Amici have a

special interest in both upholding the Constitution’s separation of powers—among

other things, by ensuring that federal administrative agencies are able to faithfully

exercise the authorities Congress delegated to them by statute without undue

judicial interference—and protecting the physical health and safety of their

constituents.

      Amici believe that the district court’s stay of FDA’s September 28, 2000

Approval of mifepristone and other challenged agency actions has no basis in law,

threatens the Congressionally mandated drug approval process, and poses a serious

health risk to pregnant individuals by making abortion more difficult to access—

when access has already been seriously eroded in the aftermath of Dobbs v.

Jackson Women’s Health Organization. Accordingly, Amici respectfully urge this

Court to grant emergency relief from the district court’s stay.




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                          SUMMARY OF ARGUMENT

      For the last century, a statutory scheme designed by Congress has assured

the safety and effectiveness of the drugs available in the United States. At its core

resides the application of scientific standards by agency experts. In 1938,

Congress enacted the Federal Food, Drug, and Cosmetic Act (“FDCA”), which

established the foundations for the modern regulation of our drug supply. See 21

U.S.C. §§ 321(p), 355(a). Congress designated the U.S. Food and Drug

Administration (“FDA”) as the expert federal agency with authority to review and

approve drug applications, including subsequent changes to those applications.

While Congress permitted some judicial review of FDA’s approval decisions, it

did not invite federal courts to substitute their judgment for the expert conclusions

of FDA’s scientists.

      Here, FDA’s determination that mifepristone is safe and effective is based

on a thorough and comprehensive review process prescribed and overseen by the

legislative branch. Since mifepristone’s initial approval in 2000, FDA has

repeatedly and consistently affirmed that the medication is safe and effective for its

approved conditions of use. FDA’s process and conclusions have been validated

by both Congress and the Government Accountability Office—and by the lived

experience of over 5 million patients who have used the drug in the United States.




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And, as with all drugs, FDA continued to closely monitor the post-marketing

safety data on mifepristone.

      By staying FDA’s two-decade old approval of mifepristone, the district court

has disrupted the longstanding statutory framework and erroneously awarded an

extraordinary remedy. Decades after FDA’s initial approval—yet somehow in an

emergency posture—the district court intruded into FDA’s drug approval process,

casting a shadow of uncertainty over its decisions. The perils of this unwarranted

judicial intervention into science-based determinations can hardly be overstated.

Researchers, health care providers, and patients suffering from a range of medical

conditions rely on the integrity and stability of the rigorous science-based drug

approval process. The specter of precipitous judicial meddling therefore threatens

access to life-improving and lifesaving drugs.

      More immediately, the district court’s misguided stay under Section 705 of

the Administrative Procedure Act (“APA”) will reduce access to abortion,

exacerbating an already significant reproductive health crisis. Although the district

court styled its relief as “less drastic,” it is not apparent that its consequences are

less disruptive than those of a mandatory injunction. Since the Supreme Court’s

decision in Dobbs v. Jackson Women’s Health Organization, abortion has become

inaccessible in much of the United States. The resulting delays and denials of care

have already had baleful effect on the health of pregnant individuals, for some of

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whom pregnancy is a life-threatening condition, regardless of their desire to carry

their fetus to term. The district court’s order would exacerbate these adverse

health outcomes by eliminating access to the most common method of early

abortion—a two drug regimen of mifepristone and misoprostol. Moreover,

eliminating access to mifepristone—also used in combination with misoprostol for

the management of early miscarriage 1—will mean fewer options for treating early

pregnancy loss,2 which includes a spontaneous abortion, missed abortion,

incomplete abortion, or inevitable abortion—conditions that can be life-

threatening, including posing a risk of sepsis or loss of future pregnancy capacity if

not treated quickly.3

       Therefore, emergency relief from the order is necessary to mitigate the

imminent harm facing members of the public, many of whom rely on the

availability of mifepristone for reproductive care—and many more of whom rely

on the integrity of FDA’s drug approval process for continued access to life-


1
    Jessica Beaman et al., Medication to Manage Abortion and Miscarriage, 35 J.
    Gen. Intern. Med. 2398, 2398 (2020) (“Thus, for both medication abortion and
    medical management of early miscarriage, the standard of care is to provide
    oral mifepristone followed by misoprostol tablets.”).
2
    Id. at 2400 (“Up to one-third of all pregnancies end in miscarriage.”).
3
    Brief of Amici Curiae Medical and Public Health Societies in Opposition to
    Plaintiffs’ Motion for a Preliminary Injunction at 5, All. for Hippocratic Med. v.
    U.S. Food & Drug Admin., No. 2:22-cv-00223-Z (N. D. Tex. Feb. 14, 2023),
    Dkt. No. 109.

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improving and lifesaving drugs. Congress intended to—and did—vest authority in

FDA to evaluate and ensure the safety and efficacy of drugs in the United States,

and Amici call on this Court to give due weight to that intent.

                                   ARGUMENT

I.      CONGRESS CHARGED EXPERTS AT FDA WITH EVALUATING
        THE SAFETY AND EFFECTIVENESS OF DRUGS—SUBJECT
        ONLY TO CIRCUMSCRIBED JUDICIAL REVIEW

        Congress has designed a system for assuring the safety and effectiveness of

the drugs available in the United States—a system that became the envy of the

world.4 At the core of that system is the expert application of scientific standards.

In 1938, Congress enacted a landmark statute, the FDCA, which established the

foundations for the modern regulation of our drug supply. See 21 U.S.C.

§§ 321(p), 355(a). Since 1962, Congress has required that drugs be shown to be

safe and effective for their approved conditions of use before they can be sold in

the United States. See 21 U.S.C. § 355; see also id. § 393(b)(2)(B).




4
     See Jennifer Ko, What the FDA Can Teach Us About Regulatory Excellence,
     Regulatory Rev. (Jan. 16, 2018), https://www.theregreview.org/2018/01/16/fda-
     teach-regulatory-excellence/; see also Michelle Meadows, Promoting Safe and
     Effective Drugs for 100 Years, FDA Consumer: The Centennial Edition (Jan.-
     Feb. 2006).

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       FDA is the expert agency charged by Congress with reviewing and

approving drug applications and any subsequent changes to those applications. 5 In

accordance with congressional design, a team of physicians, statisticians, chemists,

pharmacologists, and other scientific experts reviews each New Drug Application

(“NDA”) submitted to the agency and assesses all relevant data in light of the

proposed labeling and intended use of the drug.6 The agency must approve an

application if, among other requirements, it has concluded that the drug is safe and

effective under the conditions of use prescribed, recommended or suggested in the

proposed labeling. 7

       FDCA’s review provisions do not invite the courts to substitute their

judgment for the expert assessment of FDA scientists, but to treat their

“findings . . . as to the facts, if supported by substantial evidence,” as “conclusive.”

21 U.S.C. § 355(h); see also Schering Corp. v. FDA, 51 F.3d 390, 399 (3d Cir.



5
    See 21 U.S.C. § 371(a) (“The authority to promulgate regulations for the
    efficient enforcement of this chapter [21 U.S. Code ch. 9 (the FDCA)] . . . is
    vested in the Secretary [of Health and Human Services].”). The Secretary of
    Health and Human Services (“the Secretary”) has in turn delegated all functions
    vested in the Secretary under the FDCA to the Commissioner. See 2 FDA Staff
    Medical Guides – Delegations of Authority, SMG 1410.10, para. 1(A)(1) (Feb.
    22, 2023) (Delegations of Authority to the Commissioner of Food and Drugs),
    https://www.fda.gov/media/81983/download.
6
    See 21 U.S.C. § 355(b)(1).
7
    See 21 U.S.C. § 355(d).

                                           5
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1995) (“[J]udgments as to what is required to ascertain the safety and efficacy of

drugs fall squarely within the ambit of FDA’s expertise and merit deference from

us.”); 5 U.S.C. § 706(2) (limiting scope of review to certain circumscribed

grounds); Balt. Gas & Elec. Co. v. Nat. Res. Def. Council, Inc., 462 U.S. 87, 103

(1983) (“When examining [an expert agency’s] scientific determination, as

opposed to simple findings of fact, a reviewing court must generally be at its most

deferential.”); Nat’l Mining Ass’n v. Sec’y, U.S. Dep’t of Lab., 812 F.3d 843, 866

(11th Cir. 2016) (it is appropriate for reviewing courts to “‘give an extreme degree

of deference to the agency when it is evaluating scientific data within its technical

expertise’”; “[t]o do otherwise puts [a] court in the unenviable—and legally

untenable—position of making for itself judgments entrusted by Congress to [the

expert agency]” (citation omitted)). Indeed, the district court’s order appears to be

the very first time in FDA’s history that a court has stayed the approval of a widely

marketed drug over the agency’s objection.

      Here, rather than affording any deference to FDA, the district court appears

to have second-guessed FDA’s expert determinations with cherry-picked anecdotes

and studies, and on that basis, imposed a remedy that could significantly upend the

status quo. Appellants’ Exhibits in Supp. of Mot. for Stay at Add. 44-45, Dkt. No.

27 (hereinafter, “Add.”) (asserting that “chemical abortion drugs do not provide a

meaningful therapeutic benefit over surgical abortion.”); id. at 48 (claiming that

                                           6
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surgical abortion is a far safer procedure); id. at 52 (relying on “myriad stories and

studies brought to the Court’s attention”); id. at 57-58 (admitting the court does not

have exact numbers and is relying on compounding assumptions). The National

Academies of Sciences, Engineering and Medicine have concluded that much of

the published literature on the supposed negative effects of abortion (such as that

relied upon by the district court) “fails to meet scientific standards for rigorous,

unbiased research.”8 Numerous courts have rejected the expert testimony of the

physicians whose submissions the district court accepted at face value.9 Even

when “conflicting evidence is before the agency”—which was not the case here—

“the agency and not the reviewing court has the discretion to accept or reject from

the several sources of evidence.” Sabine River Auth. v. U.S. Dep’t of Interior, 951

F.2d 669, 678 (5th Cir. 1992).




8
    Nat’l Acads. of Scis., Eng’g & Med., The Safety and Quality of Abortion Care
    in the United States 152 (2018), http://nap.edu/24950.
9
    See, e.g., MKB Mgmt. Corp. v. Burdick, 855 N.W.2d 31, 68 (N.D. 2014) (per
    curiam) (rejecting testimony of Dr. Harrison as lacking “scientific support”);
    Planned Parenthood of Sw. & Cent. Fla. v. State, No. 2022 CA 912, 2022 WL
    2436704, at *13 (Fla. Cir. Ct. July 5, 2022) (rejecting testimony of Dr. Skop,
    who “provided no credible scientific basis for her disagreement with recognized
    high-level medical organizations in the United States”), rev’d on other grounds,
    344 So. 3d 637 (Fla. Dist. Ct. App. 2022).



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         For decades, the federal judiciary has respected Congress’s delegation of the

drug approval process to FDA’s scientists and experts. While courts have, on

occasion, held against FDA on issues related to the market exclusivity that is

afforded to a drug sponsor by the statute, it is an extraordinary and unprecedented

step for the district court to invalidate on substantive grounds—and over FDA’s

objection—a longstanding approval for a drug with a history of safe and effective

use. This Court should stay that aberrant decision pending appellate review.

II.      FDA’S DETERMINATION THAT MIFEPRISTONE IS SAFE AND
         EFFECTIVE FOLLOWED A THOROUGH AND COMPREHENSIVE
         PROCESS PRESCRIBED AND OVERSEEN BY THE LEGISLATIVE
         BRANCH

         More than twenty years ago, FDA approved mifepristone, determining that it

is safe and effective for the medical termination of intrauterine pregnancy under

the conditions set forth in the FDA-approved prescribing information. Add. 181

(Approval of NDA for mifepristone, Sept. 28, 2000); see also 21 U.S.C.

§ 355(b)(1)(A)(i), (c)(1)(A), (d). Since then, FDA has repeatedly and consistently

affirmed that mifepristone is safe and effective for its approved conditions of use.10




10
      See Information about Mifepristone for Medical Termination of Pregnancy
      Through Ten Weeks Gestation, FDA: U.S. Food & Drug Admin. (Mar. 23,
      2023), https://www.fda.gov/drugs/postmarket-drug-safety-information-patients-
      and-providers/information-about-mifepristone-medical-termination-pregnancy-
      through-ten-weeks-gestation.

                                             8
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        A.    The District Court’s Focus On 21 C.F.R. Part 314, Subpart H, Is
              Misplaced Because FDA’s Authority To Authorize Mifepristone
              Is Derived From Statutory Authority Under the FDCA, And Any
              Alleged Defect In The 2000 Approval of Mifepristone Has Been
              Cured By Subsequent Congressional Action

        The district court’s focus on 21 C.F.R. Part 314, Subpart H, ignores FDA’s

longstanding interpretation of that regulation. In 1992, FDA lawfully promulgated

Subpart H, in accordance with the APA, to help assure the safety and effectiveness

of products for use in the United States. See 57 Fed. Reg. 58,942, 58,958 (Dec. 11,

1992) (promulgating Subpart H). Subpart H applies to federal regulations for

certain new drugs “studied for their safety and effectiveness in treating serious or

life-threatening illnesses” that “provide meaningful therapeutic benefit to patients

over existing treatments.” 21 C.F.R. § 314.500. This was an entirely appropriate

and proper exercise of authority, consistent with Section 701 of the FDCA, 21

U.S.C. § 371, which expressly authorizes FDA to promulgate regulations for the

efficient enforcement of the FDCA. 11

        However, FDA’s authority to approve mifepristone stemmed from

Section 505 of the FDCA, 21 U.S.C. § 355, not from 21 C.F.R. Part 314,

Subpart H. Prior to marketing a new drug, a sponsor must file an NDA pursuant to




11
     See supra note 5.

                                           9
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Section 505(b) of the FDCA, and must demonstrate that the drug is safe and

effective for the proposed indication. 21 U.S.C. § 355(b)(1)(A)(i).

        When FDA approved mifepristone in 2000, it reviewed data from two

“prospective, open-label, multicenter clinical trials” in the United States involving

over two thousand patients,12 as well as expert advice from members of the FDA

Reproductive Health Drugs Advisory Committee. 13 Moreover, the agency’s

determination was consistent with its long-standing construction of the scope of

these regulations and similar regulatory programs to cover drugs designed for

“conditions” as well as illnesses and diseases. In the final rule, FDA explained that

Subpart H was available for serious or life-threatening “conditions,” whether or not

they were understood colloquially to be “illnesses.” 57 Fed. Reg. 58,942, 58,946

(Dec. 11, 1992) (explaining that “FDA’s reference to depression and psychoses” in

its preamble to the proposed rule “was intended to give examples of conditions or

diseases that can be serious for certain populations or in some or all of their

phases”); see also 57 Fed. Reg. 13,234, 13,235 (proposed Apr. 15, 1992)

(preamble ).14


12
     See Ctr. for Drug Evaluation & Rsch., U.S. Food & Drug Admin., Application
     No. 20-687, Medical Reviews 6-20 (1999).
13
     See id. at 21.
14
     See also Ctr. for Drug Evaluation & Rsch. (CDER), Drug and Biologic
     Restricted Distribution Approvals as of June 30, 2018, FDA: U.S. Food & Drug
                                                                                   (cont'd)
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        Moreover, any alleged defect in the original approval of mifepristone in

2000 was cured in 2007, when Congress gave FDA the authority to require a risk

evaluation and mitigation strategy (“REMS”) in circumstances when FDA

determined that such a strategy is “necessary to ensure that the benefits of the drug

outweigh the risks.”15 21 U.S.C. § 355-1(a)(1). When Congress codified the

restricted use and distribution provisions of Subpart H in 2007 through the REMS

program, it applied the new REMS framework to drugs for a “disease or

condition.”16 When Congress enacted this REMS provision, it “deemed” drugs

with restrictions of distribution under Subpart H, including mifepristone, to have

an effective REMS. Pub. L. No. 110-85, § 909(b)(1)(A). Congress was well




     Admin, https://www.fda.gov/media/115040/download (last visited Apr. 11,
     2023) (listing drugs which treat, inter alia, pulmonary hypertension and
     Irritable Bowel Syndrome (IBS)). Both hypertension and IBS are colloquially
     known as “conditions.” See Irritable Bowel Syndrome (IBS), NHS Inform,
     https://www.nhsinform.scot/illnesses-and-conditions/stomach-liver-and-
     gastrointestinal-tract/irritable-bowel-syndrome-ibs (last visited Apr. 11, 2023);
     Hypertension, World Health Org., https://www.who.int/health-
     topics/hypertension#tab=tab_1 (last visited Apr. 11, 2023).
15
     Where FDA has determined that a REMS is necessary, the sponsor must submit
     an application along with a proposed REMS. In making a determination of
     whether the benefits of the drug outweigh its risks with REMS, FDA shall
     consider factors including the “seriousness of the disease or condition” to be
     treated and the “seriousness of any known or potential adverse events that may
     be related to the drug.” 21 U.S.C. § 355-1(a)(1)(B), (E). Through this process,
     mifepristone has been subjected to exacting scrutiny and review.
16
     21 U.S.C. § 355-1(a)(1)(B), (C) (emphasis added).

                                           11
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aware that mifepristone would be included under that provision when it took this

action, and it made no exception for it.17

        In 2011, FDA took the step of implementing the REMS for mifepristone

under express statutory authority in section 505-1 of the FDCA, 21 U.S.C. § 355-1.

FDA had announced several years earlier that mifepristone would require

submission of a REMS application. See Identification of Drug and Biological

Products, 73 Fed. Reg. 16,313, 16,314 tbl. 1 (Mar. 27, 2008). Subsequently, a

REMS application for mifepristone was submitted on September 17, 2008, and

FDA approved the application on June 8, 2011. Add. 769. By virtue of FDA’s

approval of REMS for mifepristone under its express statutory authority, any

alleged defect in the prior approval process for mifepristone was affirmatively

cured.18


17
     See 153 Cong. Rec. 11668 (May 9, 2007) (statement of Sen. Coburn); 153
     Cong. Rec. 10940 (May 2, 2007) (statement of Sen. DeMint).
18
     The district court also misapplied the Comstock Act, 18 U.S.C. § 1461,
     erroneously ignoring the Department of Justice’s well-reasoned opinion. See
     generally U.S. Dep’t of Just., Off. of Legal Counsel, Application of the
     Comstock Act to the Mailing of Prescription Drugs That Can Be Used for
     Abortions 46 Op. O.L.C.___ (Dec. 23, 2022) (concluding that Congress’s
     repeated actions ratified the well-established judicial construction that the
     statute did not prohibit the mailing of items designed to produce abortion unless
     the sender intended them to be used unlawfully). That opinion correctly notes
     that, in enacting the REMS provision in 2007, Congress acted “in a manner
     consistent with the understanding that the Comstock Act does not categorically
     prohibit” the distribution of drugs intended to induce abortions by mail or
     common carrier. Id. at 14.

                                             12
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        B.       The Integrity of FDA’s Approval Process Of Mifepristone Has
                 Been Examined and Validated

        The integrity of FDA’s approval process for mifepristone has been examined

before—and found to be sound. In 2008, the U.S. Government Accountability

Office (GAO), an independent, non-partisan agency, conducted an extensive audit

of mifepristone’s 2000 approval, concluding it was “generally consistent with the

approval processes for the other . . . Subpart H restricted drugs.” GAO-08-751,

Approval and Oversight of the Drug Mifeprex at 6 (2008).19 The GAO also noted

that, when it came to post-market oversight of mifepristone, “FDA has routinely

reviewed the available information on reported adverse events” from a range of

sources and then, “working with the drug’s sponsor, has taken a variety of

steps . . . . to address safety concerns.”20 Notably, in conducting its study, the

GAO “interviewed FDA officials and external stakeholders who had access to

technical information or had conducted analyses” concerning the drug.21 The GAO

report considered many of the same concerns raised by plaintiffs in this case fifteen

years later.




19
     The report was prepared at the request of three Republican members of
     Congress during the Bush administration: Senator Enzi, Senator DeMint and
     Representative Bartlett. See GAO-08-751, supra, at 1.
20
     Id. at 38, 41.
21
     Id. at 4.

                                          13
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        In 2016, after approving a REMS for mifepristone, FDA approved a

supplemental NDA. Add. 768-75. In 2018, the GAO reviewed this 2016 approval,

and after evaluating 62 studies and articles that supported the efficacy of the

proposed changes as well as adverse event data, concluded FDA “followed its

standard review process when it approved the [2016 supplemental new drug

application].”22

        FDA has repeatedly demonstrated that its approval of mifepristone is based

on a rigorous review of scientific data and literature supporting the safety and

efficacy of the drug, which has been validated by the decades of experience of

many Americans who, in consultation with their health care providers, have chosen

to use mifepristone for a medication abortion.23




22
     U.S. Gov’t Accountability Off., GAO-18-292, Information on Mifeprex
     Labeling Changes and Ongoing Monitoring Efforts cover pg. (2018); see id. at
     11-16.
23
     See Mifepristone U.S. Post-Marketing Adverse Events Summary through
     06/30/2022 at 1, U.S. Food & Drug Admin.,
     https://www.fda.gov/media/164331/download (last visited Apr. 11, 2023) (“The
     estimated number of women who have used mifepristone in the U.S. for
     medical termination of pregnancy through the end of June 2022 is
     approximately 5.6 million women.”).

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III.    A JUDICIAL STAY OF APPROVAL OF MIFEPRISTONE WOULD
        PROFOUNDLY DISRUPT THE SCIENCE-BASED, EXPERT-
        DRIVEN PROCESS THAT CONGRESS DESIGNED FOR
        DETERMINING WHETHER DRUGS ARE SAFE AND EFFECTIVE

        The consequences of the district court’s remedy could extend far beyond

mifepristone, for it undermines the science-based, expert-driven process that

Congress designed for determining whether drugs are safe and effective. By

disrupting FDA’s two-decade old approval of mifepristone, the district court has

interfered with the longstanding statutory framework and erroneously awarded an

extraordinary remedy by substituting its judgment for FDA’s scientific

determination.

        As a result, the district court’s order undermines the well-established

statutory and regulatory framework for the approval of new drugs and the due

process generally accorded to drug marketing application holders by statute. 24 Its

perilous consequences reach far beyond mifepristone. Providers and patients rely

on the availability of thousands of FDA-approved drugs to treat or manage a range

of medical conditions, including asthma, HIV, infertility, heart disease, diabetes,




24
     Section 505(e) of the FDCA allows for withdrawal of approval of an
     application with respect to any drug under the section only “after due notice and
     opportunity for hearing to the applicant.” 21 U.S.C. § 355(e).

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and more.25 Moreover, the prospect of courts second-guessing FDA’s rigorous

drug safety and effectiveness determinations will disrupt industry expectations and

could chill pharmaceutical research and development. “Developing new drugs is a

costly and uncertain process,” and only about 12 percent of drugs entering clinical

trials are approved by FDA. 26 Were each court to take the “legally untenable . . .

position of making for itself judgments entrusted by Congress to” FDA, Nat’l

Mining Ass’n, 812 F.3d at 866, the unpredictability of piecemeal judicial

intervention will upend industry expectations, dampening incentives for companies

to incur the research and development costs necessary to develop new drugs.

Consequently, patient access to life-improving and potentially lifesaving new

drugs will suffer, and public interest strongly favors preserving the integrity of

FDA’s drug-approval process.

IV.     INVALIDATING FDA’S APPROVAL WOULD REDUCE ACCESS
        TO ABORTION, EXACERBATING AN ALREADY SIGNIFICANT
        REPRODUCTIVE HEALTH CRISIS

        In the aftermath of the Supreme Court’s decision in Dobbs v. Jackson

Women’s Health Organization, abortion has become inaccessible in much of the



25
     See generally U.S. Dep’t of Health & Hum. Servs., Approved Drug Products
     with Therapeutic Equivalence Evaluations (43rd ed. 2023),
     https://www.fda.gov/media/71474/download.
26
     Cong. Budget Off., Research and Development in the Pharmaceutical Industry
     at 2 (2021).

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United States. Abortion is banned, with extremely limited exceptions for life-

endangerment, in 12 states, and access is severely restricted in an additional 12

states.27 Approximately 22 million women of childbearing age, representing

almost one third of the total population of women ages 15 to 49—in addition to

other people who may not identify as women but are capable of becoming pregnant

and may need an abortion—now live in states where abortion is entirely

unavailable or severely restricted. 28 At least 66 clinics across 15 states have

stopped offering abortion care.29 (Prior to June 24, 2022, those same 15 states had

a total of 79 clinics that offered abortion care; now, there are only 13 such clinics,

all located in Georgia.30) Travel time and wait time to obtain abortion care have

increased significantly across the United States. The shortage of providers has also

stretched the capacity of clinics in states where abortion remains legal.31




27
     See After Roe Fell: Abortion Laws by State, Ctr. for Reprod. Rts.,
     https://reproductiverights.org/maps/abortion-laws-by-state/ (last visited Mar.
     13, 2023).
28
     Marielle Kirstein et al., 100 Days Post-Roe: At Least 66 Clinics Across 15 US
     States Have Stopped Offering Abortion Care, Guttmacher Inst. (Oct. 6, 2022),
     https://www.guttmacher.org/2022/10/100-days-post-roe-least-66-clinics-across-
     15-us-states-have-stopped-offering-abortion-care.
29
     Id.
30
     Id.
31
     Id.

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        The resulting delays and denials of care have already dangerously affected

health outcomes for pregnant individuals. Some individuals report being forced to

forgo cancer treatment,32 while others report developing sepsis,33 being left

bleeding for days after an incomplete miscarriage, 34 enduring the risk of rupture

due to ectopic pregnancy or being forced to continue carrying a fetus diagnosed

with a lethal fetal anomaly such as anencephaly.35 For some individuals,

pregnancy is a life-threatening condition, regardless of their desire to carry their

fetus to term.36 Since Dobbs, numerous individuals have been left struggling to




32
     Affidavit of Dr. Sharon Liner in Support of Plaintiffs’ Motion at 4-5, Preterm-
     Cleveland v. Yost, No. A2203203 (Ohio Ct. Com. Pl. filed Sept. 2, 2022).
33
     Complaint ¶¶ 17-25, Zurawski v. Texas, No. D-1-GN-23-000968 (Tex. Dist. Ct.
     filed Mar. 6, 2023); see also id. at 1 (plaintiffs were denied necessary and
     potentially lifesaving obstetrical care because medical professionals throughout
     the state feared liability under Texas’s abortion bans).
34
     Frances Stead Sellers & Fenit Nirappil, Confusion Post-Roe Spurs Delays,
     Denials for Some Lifesaving Pregnancy Care, Wash. Post (July 16, 2022),
     https://www.washingtonpost.com/health/2022/07/16/abortion-miscarriage-
     ectopic-pregnancy-care/.
35
     See Complaint ¶¶ 82-94, Zurawski, supra note 33.
36
     See, e.g., Ioannis T. Farmakis et al., Maternal Mortality Related to Pulmonary
     Embolism in the United States, 2003-2020, 5 Am. J. Obstetrics & Gynecology
     Maternal-Fetal Med. 100754 (2023); What Are the Risks of Preeclampsia &
     Eclampsia to the Mother?, Nat’l Insts. of Health,
     https://www.nichd.nih.gov/health/topics/preeclampsia/conditioninfo/risk-
     mother (last updated Nov. 19, 2018).

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access the essential health care they need.37 Reports from doctors and journalists

highlight the increasing importance of mifepristone for reproductive health care in

Dobbs’ wake:

        • One doctor who had “to stop providing abortion care to patients in
          Wisconsin for the past six months” observes “further difficulties for
          patients in rural settings.” Rural patients “are now being forced to birth,
          so the risks of bleeding and poor fetal and maternal outcomes have
          significantly risen. Mifepristone is vital to providing safe care for early
          pregnancy loss.”38

        • Another doctor recounts a patient who was raped when she was actively
          planning for pregnancy. The soonest a paternity test could be conducted
          was at 7 weeks gestation, while Texas, where the patient lived, had
          banned abortion after 6 weeks. The patient could not afford to travel out
          of state for termination, and had to seek a medication abortion before her
          sixth week.39

        • A woman residing in Louisiana, where all abortion (including in cases of
          rape and incest) has been banned after Dobbs, was refused treatment for
          her miscarriage when she was between 10 and 11 weeks pregnant. When
          asked whether treatment was available to alleviate her pain and speed up
          the process, the doctor replied: “We’re not doing that now.” 40

37
     See Jessica Valenti, I Write About Post-Roe America Every Day. It’s Worse
     Than You Think, N.Y. Times (Nov. 5, 2022),
     https://www.nytimes.com/2022/11/05/opinion/election-abortion-roe-
     women.html.
38
     Brief of Amicus Curiae Doctors for America at 6-7, All. for Hippocratic Med. v.
     U.S. Food & Drug Admin., No. 2:22-cv-00223-Z (N. D. Tex. Feb. 13, 2023),
     Dkt. No. 99.
39
     Id. at 9-10.
40
     Rosemary Westwood, Bleeding and in Pain, She Couldn’t Get 2 Louisiana ERs
     to Answer: Is It a Miscarriage?, WGCU (Dec. 29, 2022),
     https://news.wgcu.org/2022-12-29/bleeding-and-in-pain-she-couldnt-get-2-
     louisiana-ers-to-answer-is-it-a-miscarriage.

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           Mifepristone is part of standard treatment to manage early pregnancy
           loss.41

        These examples bespeak a broader public health crisis aggravated by

providers denying care for fear that their treatment will contravene state criminal

law and lead to prosecution.42 No other practice of medicine bears witness to these

types of denials of care based on state restrictions and ideological interference.

        The district court’s order would exacerbate these adverse health outcomes

by eliminating the most common method of early abortion. 43 As a result,

childbearing individuals would have to turn to procedural abortion, which is more

invasive, may require extensive travel to obtain, has longer wait times, and is often

much more expensive. Alternatively, affected individuals would have to seek

other methods of medication abortion, even though the FDA-approved regimen

using mifepristone is by far the most common and available method of medication

abortion in the United States and is a method that FDA has long determined

provides a “meaningful therapeutic benefit” over existing treatments. 21 C.F.R.

§ 314.500.


41
     See supra note 1.
42
     See, e.g., Westwood, supra note 40.
43
     Rachel K. Jones et al., Medication Abortion Now Accounts for More Than Half
     of All US Abortions, Guttmacher Inst. (Feb. 24, 2022),
     https://www.guttmacher.org/article/2022/02/medication-abortion-now-
     accounts-more-half-all-us-abortions.

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        These health risks, as well as financial and logistical challenges, would

disproportionately affect individuals already facing systemic barriers to health

care, who could be forced to choose between a more costly procedural abortion

and an unwanted pregnancy.44 These particularly vulnerable groups may include

low-income individuals, people of color, young people and those residing in rural

areas.45 Medication abortion using mifepristone is an important means for

vulnerable groups to access medical care without having to bear the cost of long-

distance travel to find access to procedural abortion and the difficulties associated

with getting time off or finding child care.46 By curtailing access to the most



44
     See Katherine O’Connell White, POV: Overturning Roe v. Wade Will Worsen
     Health Inequities in All Reproductive Care, BU Today (June 24, 2022),
     https://www.bu.edu/articles/2022/overturning-roe-v-wade-will-worsen-health-
     inequities/.
45
     See generally Eugene Declercq et al., The U.S. Maternal Health Divide: The
     Limited Maternal Health Services and Worse Outcomes of States Proposing
     New Abortion Restrictions, Commonwealth Fund (Dec. 14, 2022),
     https://www.commonwealthfund.org/publications/issue-briefs/2022/dec/us-
     maternal-health-divide-limited-services-worse-outcomes; see also Rosalyn
     Schroeder et al., Trends in Abortion Care in the United States, 2017-2021,
     Advancing New Standards in Reprod. Health, U.C.S.F. (2022).
46
     See Karen Brooks Harper, Wealth Will Now Largely Determine Which Texans
     Can Access Abortion, Tex. Trib. (June 24, 2022),
     https://www.texastribune.org/2022/06/24/texas-abortion-costs/ (“About 73% of
     the people who call Fund Texas Choice for help with travel expenses are Black,
     Indigenous, Hispanic and Asian . . . .”); id. (“[T]hose working in wage-based
     jobs with no paid time off . . . .”); Chantel Boyens et al., Access to Paid Leave
     Is Lowest Among Workers with the Greatest Needs 2, Urban Inst. (July 2022).

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common method of medication abortion, the district court’s stay erects additional

barriers to health care for vulnerable populations.

        Reduced abortion access is also associated with higher rates of poverty, and

lower educational attainment for both children and parents. 47 The Turnaway Study

conducted at the University of California, San Francisco found that being denied

an abortion was associated with increased economic insecurity and household

poverty for both the mother and children born as a result of abortion denial. 48

        The unavailability of mifepristone will have an especially acute impact on

Black maternal health. In 2021, the overall maternal mortality rate shot up by

nearly 40 percent,49 and the maternal mortality rate for Black women was

especially high, at 69.9 deaths per 100,000 live births—1.3 times higher than it was

in 2020, and 2.6 times higher than the rate for white women. 50 In 2020, maternal




47
     Diana Greene Foster et al., Socioeconomic Outcomes of Women Who Receive
     and Women Who Are Denied Wanted Abortions in the United States, 108 Am.
     J. Pub. Health 407, 412 (2018).
48
     See Diana Greene Foster, The Turnaway Study: Ten Years, a Thousand Women,
     and the Consequences of Having—or Being Denied—an Abortion (2020).
49
     Donna L. Hoyert, Maternal Mortality Rates in the United States, 2021, CDC
     (Mar. 16, 2023), https://www.cdc.gov/nchs/data/hestat/maternal-
     mortality/2021/maternal-mortality-rates-2021.htm.
50
     Id.; Donna L. Hoyert, Maternal Mortality Rates in the United States, 2020,
     CDC (Feb. 23, 2022), https://www.cdc.gov/nchs/data/hestat/maternal-
     mortality/2020/maternal-mortality-rates-2020.htm.

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death rates were 62 percent higher in abortion-restriction states than in abortion-

access states.51 From 2018 to 2020, the maternal mortality rate increased nearly

twice as fast in states with abortion restrictions than in states without them.52

Additional restrictions on access to medication abortion threaten to further increase

the maternal mortality rate—an issue disproportionately affecting Black women—

and exacerbate an already grave Black maternal health crisis.53

           The district court’s order will further restrict abortion access, exacerbating

the harmful effects from existing limitations. Just as Dobbs upended abortion

access and led to chaos following the decision, eliminating access to mifepristone

will further narrow options for care.

                                       CONCLUSION

           For the foregoing reasons, Amici Members of Congress respectfully request

that the Court grant defendant-appellants’ emergency motion to extend the seven-

day administrative stay pending resolution of stay proceedings in this court, and for

a stay of the district court’s order pending appeal.




51
     Declercq et al., supra note 45, at Exhibit 4.
52
     Id.
53
     See id. at Conclusion.

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             CERTIFICATE OF ELECTRONIC COMPLIANCE

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Dated: April 11, 2023
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                                               Counsel for Amici Curiae




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                            APPENDIX

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